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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-01&lt;A NAME="1"&gt;&lt;/A&gt;-00&lt;A NAME="2"&gt;070&lt;/A&gt;-CV&lt;/CENTER&gt;


&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;In re David Raphael Hembree&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt; &lt;SPAN STYLE="font-size: 11pt"&gt;FROM TRAVIS COUNTY&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;

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&lt;/STRONG&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;David Raphael Hembree files his petition for writ of mandamus.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App.
P. 52.8.  We deny relator's petition for writ of mandamus.&lt;/P&gt;

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&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt;

&lt;P&gt;Filed:   March 8, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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